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    f·




                           rN TH E UN TTBD STATES nrsTRTCT COURT
                          FOR T ffE WE S TERN DTSTRrCT OF HrCHrGAN

                                                                                                    FILED - MQ
fltCKTNG N'E:TTLES                                                                           October 20, 2021 9:47 AM
                  PZa1ntif£,                                                                        CLERK OF COURT


v.
                                                                                         WESTERN DISTRICT
                                                                                         BY~ SCANNED BY:
                                                                                                               o.tiqQ
                                                                                                                ce~s~v
                                                                                                  U.S. DISTRICT COURT




JJlNE      DOE:     #1    ( Nurse)
R~SSTP A . STR ANAL Y, RN
BETH ANY STAfN (Read of Med ic a l )
D. PLUHM ( Resi d en t Unit Mgr . )                                                  2:21-cv-218
R. BJIT HO (A s st. D9pt1ty Dl r . ),                                                Maarten Vermaat - Magistrate Judge

et a 1.
------'n_a"-f_e_n_rl_a_n_t__
                           s________                        I
                         co•PLATNT f or vrOLJITfON oF crvri nrGHTS
                          UNDER THE e rG RT R and FTRST AMEND~SNTS
                                              •P U . S . C .     l 98 3

           r,     Pl ain-t i f f Nettles,           und er 42          u.s. r: .     1   q1n ,         b r i ng f orth

a        delibernte         indiffer ence            claim        in      violation               of    the    Ei gh th

Amendment ag·ai n st all na med                        state       dr,,fendants,               deprivation of

PlaintiEF' s              right      to redr ess claim in                 v .1 oZation             of    the    P1 rst

Amendment a g ai n st                Defe n d ant         s tate c o l'rectional offic e rs ;                      and

c r uel         and      unusual       p11nishmPnt          claim          in        viola tio n              of   th e

r:igh th          J!mc n dm ent      against       sai d        stats      corr ectional                 officers .

           I am a convicted and e en tenca 1 state prisoner .

           Pl!11r.t 1ff 1s req ue s ting a                  jury t r ia l.

           Deferdant            Jane     Doe       #1 ,        nurse,      misus e.1              her    au th ority

a f f o rde d       through her stat e melf1ca1                     Zic 0 nso as              a     nnrs ~ an11 AS

an        employee         r;:iven      throuqh            the     state        as       a     r,nrsa       f or    the

                         repartment       of'     cor r ect.ions           whe n             Defend an t           Jana

Doe        #7 ,     nu r se ,     refused        P laint i f f         required           pain p1 1 1s while

in       segregat 1 on o n            med ic a l          quarantine               f or        the         shi nq1e s

r ash       that          is      med1ca11y           k n own       to     CIJll~R           i n cense          pafn,

Eorclng             Plainti f f          to         ntf11r e     the        pRf n         1n           7uarantine.
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          Defenaan·t stranaly,                                    RN,     misused          her     authority                 afforded
                         '·
through          her      ·state                    medical license as a reg:l.sterea nurse                                           ana

an    employee           'i/i
                          - ·. ,ten ·,
                                                    through          the       state         as    a     registered                 n.urse

£or      the     M:l.cl{J.gan                    Departmen,t              of        Correot:J.ons            when         Defenaant ·

st ran a 1 y ,      RN:;                     refused               Plaintiff              required           pain.       pills        fen:

the -v~ry painful rash                                    oalletl sl1:J.n.g1es               for       which           medic.al       was

trea.t.ing          Pla.1.-n,t.f.f.f                     who       had    been        placed           in    segregation               01J..,


rneaical         quara~t.ine                            that       lastea            five         aays,           then. released
                                  '.
st:l.11        rmaer          treatm~nt                       taking          prescri. bad medication                         but     was
                                   /'

re:f~rsed        reg n:l. red                       pain          pills       by     Stranaly,,             RN,        who
           ;
                              .
                          ~, .J
                                  .-~~-
knew t·he         t>la:1.::ti,tiff st111                          srzffered          serJ.ous          pa:l.11 fxom          th.e rash
           '                        ~


post       •.guarant;:i'ne
                    .••.'
                                               as        the       rash       i.s    medically              knor,,n       to: cause
                              .;•

.intense         pain,(even
                       ,.                           long after                the     rash        dries           np,     someth1ng ·

stated                                                       by     'Oefendan,t            Strana Zg,,            RN,         in      her
                '
.!'esponsJ.ve k1t·~,                           yet        refused          Plaint.if'f            requ.f.red            pain        pills

at    J,J. s    re q u   e,s t ,               a e 1 i. be r a t e 1 y        for c i. n g        P1a   1. n ,ti f f     to     suffer

the      intense ;pain                           fox         more        than, a montl1 without pa.1.n pills.

     Defe11dan); B. Stain abused                                                    her    authority               afforded           her
              \ ,.                   .,



through medic.al license ana as                                                                          personne1                  g.iven
                          f .'
                                  "
through          the      f~ate                     as       an    employee           for     the        Michigan             Depart-

ment      of     Corz:_~.ct:fon,s                        when       this person              reviewed              ana       approved
                                    ~~

Strana1y's                'a,~nia 1                     of         required               pain         pills to Plaintiff~
                                     ~:'./



evei:i                                       rvas       sti.11       under            treatment              on          prescribed
                                                                                                                               .I
medication                f·or                the        rash       whose           .intense       pain,          is      merHca.tlg

known to last Jbng after the rash dries up, p~1n_ which Plain-

t i f f sufferecJ:f for                             a    month          be.i.ng denied regu.frea pain p:1.11s.


                                                                          2
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         Defendant                      John/l>oe,.          doctor,             abused         h.fs/her          authority

afforded              thro~rgh             her         state    medi. ca 1          1 i cense       i-!tS   a doctor and

an employee through                             the state          as        a     doctor       for         the     M.tchigan,

Department                of· Corrections                      when re:fnsJ.n,g to p.rescr.1. be                        'Pla..1.n-

tJ.EE    reg u.1reci, · pa.1.n                  pi 11 s      for       the       very pai nfu 1 sh.1.ng 1 es .rash

for     which meil{cal                     -P-Jas treatin,g him,                   as     the rash          is meaical ly ~

knot-in . to aans"e.                    severe paln long after the rash dries np,
       .·       ~,          ~

l>efendan,t Joh,n/ Jane                         Doe,      doator,            fa 1. 1 ea    to      p:l'escr:l. be .plain-
                                                                                                                        (

tiff     required: pa1n                         p:1.lls       foroing            PZalnt1:f.f        to       endure          this

lon,g-lastin,g ··_'pain,                     for        more     than, a month without pain pills.

      'i Defendant. John                          Doe     #1,. correctional                        Officer,           misused

his     authority                       given      him       through         the state as a                 correctional

o.ffi ce·r for             t.he
                             ,·
                                         Mi. ch1 gan      Department               of     Coz-.rections             ~,hen he,
               ,·
1n, _agreement .---with                         other        r::orr.ectio11al           officers,            all      ref"sea

Plaint:l.ff his. pain                           p:l.lls      out       of 'h!.s property, aeniea 'Plarii-
                            .
tiff      gr!J.evan~~s                    upon,        request,         even.       den.iaa         l?lal.nt:lf'f           clean
                            ~·
clothes             aftet               showering,           deliberately                 forc.tng          '!?la.in.tiff             to"
                             ,·
suff_er             the    p~a,:I.n
                            ,,-..
                                           he     c:omp1ai.nec1         of,        subject.1.ng             Plaintiff                 tor

re._:fnfect1on ;'f:rom                       a:J.:rty     !.nf'ect:ed            clothes        he wore           for        4        of
          .:
5    days 1n              guatant1ne,                  and     b1 oclcing          'Pla.:l.nt:lff       from        grieving

hi s <i s sues u n               fi l     1 et o u t      of g u a ran t J. n e         a .ft er    :f 1 v e      a a y s,       ti   11
                            ·<:
because               ·the,             officers•         so-call ea              fear     of      contracting                   the

rash from an~~hing the Plaintiff touched despite all off1cers
                                  ,\_



had     .fu.11        'P?'IJ:'s           (g"loves,          masks,          faoe         sh:le1as,          body       'sn1ts)

due. to             the     t?P/eaa             o.t:    cov:f.d-19.           By    any means,              the      rash             is

no      just1fica-ti..on,                   wl1atsoever            to    den,y          ?1a:l.nt.i:ff        a    grievance




                                                                   3
                            'f
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or    req nired            .ol ec1n        c 1 othes,        wlli ch are                 not      "pr:i. vi 1 eges."           t heg

called            them;              but        Constitutional                         rights of              Plaintiff's.
                                                                                                                          /



         Defendant, r,.                   Plumm,       Resident                Unit        Mgr •.R      abused         his/her

authority           a.fftrded
                        r,:
                              him/her through                                    the state              as    an     employee            k-

                        ·.I :;
of the Ml ohi gi(n                   Department              of        Corrections                 ~v>hen      he    reviewed
                            't ~'

and· approved "the                        inhumane           treatment                    of      all     the       Defendant

corraqtional ·; officers,                               as         Defendant                 o. Plumm              referenced·

that Plaint:l.ff·,:rece.iving                          a     grievan,ce                 ana       clean        clothes           are

"p .rt· v 1 1 e g es , "            not      rigl1ts,              thus            approving            their          denial.
                '
      , Likewise-,.. Oe.fentlant                       R.     Ba tho,,             Assistant Dep11tiy Director
                  ~.          ;




( ADW) . abusad                    his    autlrnr.ity         affora.ea                 him       through           the       state

as    an,,. emplof(~·'e              of the M.ichi.gan                    Department of Corrections                               as

ADW     by     revi~rt.r,)ng              and    approving                     the         denial         of       gr1 evances

and       reguire~                  clean       clothes            to        Plai.ntif.f             flhile         med•ica 1 ly

gnarantinea            f~f           shing1<3s.


                                             STATEM8NT OF CLAIM

                                                              )l.
                        (EACH DEFENDANT VIOLATED THE EIGHTH
                                        ln::LTBP:RAT'f1J ZNlHFFERENC'f!:
                  AM'f!f(:D.MENT BY THEIR
                   TN j~FUSTNG PLATNTlFF REQUIRED PAIN PTLLS
                     FOR THE (TE,'RY PA lNFUL RA.SH FOR rm TC!!
                               : U'fJ: WAS BETNG TREATED BY MEDTCAL

         On       Satutday,                 Apr f. 1       10, .       :? 0 ?. 1 , ,   a pp .r o x J. ma t e 1 9    1 0 a • m•     at

the     Chtppe~1a:·;Correct:fonal                            Faci1:ltiy,                 ,1269,      Wes'l:        M-80,        K.f.n-

chel'oe,          Ml   49784,              the     Pla.1ntiff                  went        to     medical           for         some

very. pain,ful             •f'e_a
                           .. ',
                                         spots wrapping                   around            his      entire         le.ft       leg._

              A    nur$e had looked at                         Plaintiff's                     leg anil        immediately

recog~i zed            it:.          as     a      contagions                     very       pain,ful          rash           called




                                                                   4
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     s hi. n.g 1,,;s      which                        she      informed                  ?lain.tiff               attacks             muscles
                                        ,.
                                        ~


                                       '•
     P.1h1ch · causes ,'.:the
                      .,                               :intense          pain..            She tolti             Pla.f.nt:i.ff he would

     hatre     to       be     'lmmeaia
                                ,,,     te 1 y                      g ua ran tined                    in     r~egrega t1 on            because

     t:he     rash       wa/i_\::ontagi.ous, then she maae a phona                                                          cal 1       .in      the

     presence of ~lain,tiff"                                   to    a     doctor               regarding ri1hat medication

     to     give Plaintiff.                               SI1c:1 hun,g up and                        :J.n,formed       1?l<'i:l.ntiff         that:

     med.icaJ           tiier·e                   aia.    not       have        on         hAna         the       proper          dosage            of

     prec1J. sone ta l;l ets ordered                                  by       the         doctor.,           t.hus,       gave       P J:an t   :I. f f

     enough.        preclisi;,1ie,                       acyclovir,             and           some           sJ.n9le         paclrets               o:f
                               ;.

     pa 1 n    pi 11 s         ft y 1 en o 1                 ana      :I. bu prof en, "'' h f. oh                 ha v e    two       p :I.. 11 s     a .
                                   ,.

     pack.et)          all    t,'c:>.            carry       Plaintiff over                      until           two       days       lateE on
                                                                                                                                                           .f'
     Monday • when
                               ~
                                ·111 s ;'
                                                       prescriptions                     woul   a.     come.           She labeled the
         .                         '


     pred i   ;one       and.\~ ogclov1 r
                                   • .I
                                                                 p11 ls         of         how many              take aa:! 1      y but          not '·
                               ·1,c~ ('



     the . pa1n pi 11 ' S;·~' ·~;hi ch slle sta tea i:c:.ke as needed                                                      for    the pain •.

              Two days· later                             on     Monday,                 Apri1.       12,     2021,        ~round '10a.m.,

     the      Pla1nt1ff!                         was     gJ.ven      a     prescription                       for      onlg       p·reaisone
                        '
     and      acyclovit'_                        but     nothing           for.          bis         ssr.fons        pain        as     ha       was

     out .· of·        ·the p"al n pi 11 s                      gJ. ~n~n     llim          in        the      beg 1nn:lng          to       carry

     over      wl th         thJ
                               !,
                                                 0th.er      meai cat .ion                un t11           that      cnrren t          Monday.

     Ha     asked for~•. pa:i.n                          pills       at      that             momen.t         from         Jane        Doe          #1,

     n,urse,. who             statea
                               ,·_,. "okay" bnt never                                            l:>.rought         any      pa-in.      p!.lls.
                               "'
                                '            '
     This      we.nt         on··
                               ·.,.
                                    each                  day       that       1,1       nurse          would
                                   ''
                                • •, l
     check       'of     the' rash                        whiah          was         onJy            on,ae    a     aa y     but       n.ei. ther .
                                > ·-
     ever       brought' iback                           any pain           pi 11 s.                 The      pain         was     so       grea·t

··   that Plai.n.ti.:E'~_.:- started                             ban.g·ing               on     his         door       ana yelling for

     a· nu.r$e          when,                    one     would      make             a     round           for     other         prisoners,




                                                                               5
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most-1 y         cov:1.a.:..19                              prisoners,,             but       Pia:ln,tiff's          agony            calls

went      unanswer'i?.d nn t .i 1 one                                   night         the     nEm      n.urse      b.ad      answered                ,

and      sl1e      wen,t                   an-a         brought back                PZain,t:iff two packets                   of          pai.n,

pills that heJpea                                        :l.nto    the        next     morning._            P1a1ntl.ff haa ?'!ot

seen       the       new .. nurse                              again,     while        :in        guat"t1nt:ln.e       as     he          con- .

t1.nuea         to    ask                            for pa:in pills ancl was                  -tol c7 okay       but yet nenrer:

.given
     ,         the    pai/n
                         ., pills, forced                                       to     sllffer        the     pa1n        every               day

e,rcept         when )n.i.tially                                   given        pain      p11Zs        for      two         da!JS             and

when      the ne,.,,. h,urse gave                                  11.im two paclrets.

          Plai.nt1(.f'·                              then     tora      the     guards         of     his     pain        and         aslred

would'         they     g~_t, his                              pain      pills out            of     l1ls    proper·t:9,              a       few
                                 .         ~~   .
me<'i !. ca.11 g       presc.ri bed
                             l ••.
                                                                  t yl eno1         pi 11 s    he     had     f:t•om      .1. e f t       over.

when       he      had 'Covld-19.                                     llower.--er,     the        guards      al 1     re-fused                to

get      Plal.ti.ff-:1,-.• his
                           ·
                                                         pa.in pills ont of 11:l.s property                            as      ~11;d      1    as,
                            .,.••.

t.'fen:l.ea h:im ev::er.ything                                    else.         Tn,    ot'he:r:      words,. po1:l.cy ,a11owea

that all p1·1s'o,n.ers on rnediaa1 gua.rant.ine                                                       be     given        a11         the.1r

property             bec,i11se                          they were             .in segregation           not     ·for: pnni shmen t

but ,medical            i;u.~.ra11t.:f.n,e;                        there.fore,            wh.ile       a11 other .Prisoners,

on ~edical gu~rant1ns,
             . •-,     mostly covid-19 prisoners,. were                                                                               given
                         ' :1.       ~--


a 11    their p.r;p,ertly(F.ood,                                        tv,     music,        clothes,          books,          r17·riting

material,. ,3tc~,,                                    pZlls    able to         u.se the       phone,.        microwave,. sink,                       ,

et·c ~) , the          PJ,~j.n,ti                       f.f     was     aen! ed        a 11    o-f    that      merely          beca nse

he     h.aa.   the     shfng1 es                              wlii oh    the        guards        a oter!    afrai a o.F catch-
                                     .:f
Ing,~: from          PZa,:{'!rz,tiff                          that      they        refused          ·touch.tng      anything                  of
                         ;,           ,,

the : P 1 a i n ti ff. ,,-s ,                          but they         ai   d not s top           there b n t       aen i et!        him,          so
                     ..    I.                   0·




                                                                                6
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much so,            the          guards                even       refused                'Pla1n,t!.ff'          to    send out any

ma11        or kites1 even dended to give or allow Pla1nt1ff to send

out      a       grieva/1Ce                 at         his       request,                 all         because              the    guards

                  have         to          touch           ths       items              aespi te        they         a 11    had     fu 11 :,

PE>!?:' s    due to the serious                                  spread            of      oov:l.i!-19.               John       Doe #1,,

a    rook:J.~           cor:rectional                       officer,               had       in,formeil              ths     Plain.tiff

0£ the- discnss:ion,                             by       al.1    the       segregation                     guards          to   come to

the ·coru:lus:lon, Pla.1.ntif':f gets                                      "noth.in,g"                due     to      fear       of con-

tract.i.n,g             tl1e·• rasl1                   Erom       him      despite               they        all      having . .full

PPf:: 's alla to                ~-he serious sp.rea.a of aovi a-1 9 •
                           . '

            On,     Apr:J.r               15,      2021,          around                lla.;n.        after         five        a~ys    in

guarant:lne              tl1e· rash                       aried       up        good        enough           to let          Pla.1nti£f

out      of gnaraf-'_frine,                         hoi-1eve:-,          he        was       sti.11         on       pr.ed1s.one        ana

acyclovir               med.:i,cation                     whose          prescription                   tH.d       not      ena    unti 1

ltpr-.il      /10,       ?.0.21'.                Jls      sbin,gles             is       msrlica11y .known                  to b·e very

pa!niful            long ,-·after                                          dries           up,        thus,          Pla.1nti:f.:f
                                  ,,.
sti 1-1          suffer i/i°g
                         .•.
                                            ser:l. ous           pain          i:!J?d     used his           1 eftover           t91 enol

pills                                       prescr.i bed               him                       he     had      covi.a-19.             The

p i l l s , lasted ·_;him                        f'o'!'    about         three days,                    then         the     P1aint1f'f
                  .'
kited •medi.ca.i . .for                            some          paJ.n     pills            on,       Ap1.•il      18,      2021.        on.
                               ,,:,;
                                ',if

.~pril           .19,    20.2.,1,               Defendan.t            Str.analy,,                RN,     :!n:    her        responsive
                               ·-:-:,:

kite         ~efusea•_'Plaint:i.f:f                           required                  pa:J.n    p111s,
                           f     "i
                               : f~·
can . take              ty1,e,nol                  f:or      t'h.e     paJ.n,,,n           suggesting                Plai.n,t.iff'      get
                                     •'
                                 : ~'
h:1..s   own         pain:· pills                      despite           he          was          st:1.11       und~.r       mec1:lca1 's

trea.tment              tak-:i:ng               pred.1.sone            ana         a.cyc1ov:lr                medication,,              get
             /                 .·,
Stranaly,,              RN,-;:.·           refused                   Pla:l.nt:1.:F.f             .required             pain        pl11s



                                                                           7
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_iust       as      he       was               den-iea      in     quarantine.                 Oefenaant               Stranaiy

very        wel 1        kn,ew                  Plaintiff          was      suffer.in,g             ser ions         pain       even

post        guarant.in,e basec1 on, her own, words                                          :i.n    writing,           stating:
                            .; ~·
Plaintiff                "st.1.11
                             '      ,           l1e1ve     shingles pain,"                  "rt is common, for                    the

pa.in, to          last ,,rJel 1 beyonc'I                    when          the    lesions cl-cg up," and "r am

attacl1ing               som~                 information           on      shin.gle:;;        f.rom        Mayo       Clinic," ··
                                   ...
wtJ i   ch , was         a          ;pJ: int:      out       that        re pea tad 1 y            sta tea      how      pa.infn 1

sh:i.wgles          is:
                     .
                        <"t~ery
                        . ,.
                                                   paln.ful,"              "pain        is          usua   11 y      the       ·:first
                                    ,,
                                   '<
symptom            o.f       sf1.ngles,"                    "For     some        the     pain,        can       be    very        in.-

tense,''.          "For :·s,ome people                        shingles            pain       cont:inu,gs             1on.g after
                             .,:

the·        blisters· have                          cleared.               This    condition               is        known         as

postherpet.f.c ·                             neuralgia."

sta t·_emen ts            al,lc'i 1n for.ina t.1 on. px-ov.i dec1                      to     Plain ti f f           pro1re       oe-
.fend-ant                                             RN,        uneguivoaally                     knew     Plaintiff             was·
        ,    '
s t i l l .sufferi!'-:g interns.e pain                               from         the rash a.f.te:r.- gnarantine,

                                                                 nnder         treatment             taking          meils,       she

refused him l'egui.rea                                pain       pills,          suggesting               he get his or-1n,
              '
fo1:cin,,g         Plain.;t.tf.f                 to      suffar       the        intense           pain      for· a         month.       r.
This        den:la.'1                          pain· pills by Defendant Strana1y, RN, ~erves

as      clear        pro'd/                    Plai11tiff          .-,as       also         r7enie-a        required            pain

pills .ln            quar~"ntine                      as     stated •
                             .'·



llim        reguirefl~ p,aln                       pills,          fo:ro:ln.g      him       to      snEfer          t~Je      pain.
                             A~~~··
            An.d     to        i!!l1Y           notion       that        thG     Plaintiff            was       regui't'ea         to

purchase             his 1'. own                 pa.tn      pills goes aga!nst al 1 mea.1. cal                              stana-
                              '          '
aras a·nd practices whiah                                     is     proven        by       the       faot        wben Plain-
                         f;:;
tiff        had      oovi·d-19                    with       its     pai n,fu 1        symptoms              he       ;ia. s    pre-



                                                                      8
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scribed                tylenol               pills         for        the         pain        despite          he    could          have

purchased                   tlH:!lll        himse1 f.           And          to         Defendant              Betliany           Stain

fa 1 s e I y          1-, r J. -t i n .g,     '"l" be     pa ti en t          r,1 a   s ••• pres c r 1 be a      Ty 1 en o l ,, "       i t

is      r'fisprovea': :by the own writing                                             of    Defendant           Stranal~J,            RN,
                                 f:

statJ.n_gF                 "Col'.l.timre          taking             gon.-c       mea.icat:lon            ana       you      mag      12se

tyleno1               for      ~iie         pain."             r.f      tyJ.eno1             was       part of the medica-

t1 f'!l,       d. t        .i•otfili        be    no      neec1         to te 11             P.Iaint .if :f.     "anr'l      you      ma. y.

use . t        y1 anol fo.r                  tb-=1       pain. "             C1ear1y this proves tha~ tyle-

no1          wai-.s not J;>..fJ!'t of tJJe meaioation.

      F·u r t 'herrri,?_re,
       f:.                  s ven i f P 1 a it .i f f cou 1 if pu.rcha his own                                       S-=
                    :{
medica,t:l.on, he could not ao so right af'te.r quarantine given·
               .;

120w         th,e stori:i                  operates:           the       stors             on!y        delivers          every        two

weeks               aru1     th~r.e          is      a   aeadline             to p1ac:e            stol:'e      o.r:ae:r·s.         When

Pla:inttff                  r\fa~,-, 1el;         out      or        guarant.fne                t:he    deadline            half just.




to                                                                                                                            receive

i t , :·forcing                Pl.a:ln,tiff              to     t;11ffe.z-        the      :intense pa.in for a month,,
                                 .    ;~
                                 . •-.
bsfore-              he c:0~11 d puz-ch:1s e r1i s                      ow.n pain               pi 1 Is    wni oh          P 1 a.i nt:i. f f
                               ~-                                                                                                              ~




was           not

                                                B.
                           01!:FENDANT CORR~CTTOWAL OFFICERS DEPRTVED
                                ,,PLATNTTFF OF                  TH'f!    RH-:Fr'T' TO           RF.:DR1!:SS#-
                                1w          VTOLATTON OF THF.: FTRST AM~NVM~N'T'
                      P,JHFJN Jf!EY           Rlf:FUSFJV        PL.21 TN'l'T.FF A GRTF.:VlHlCF.: FORM

        ·•, ~lilile          P1ai.ntiff was madicaZZy                                   qnarantin.ea .fn segregation•

for -.the pa1nf,)1 rash shingles                                             he        was      refused         regnirea            pa.in

pi 11:s ;, by              medi ca 1          and        the    guards,                tlrns,    askeci        for       g.r:-1 evances ·
                                 ,.
to redress                   the:. issues                 amon,g        other              issues       such        as     P 1 aln ti f f




                                                                         9
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 bein~1 refused                                    required cJ ean clothes                             by      the     gna ras,          but the

 Defe,nd.an t              oorr~ctior!a 1                             offi cars                 refused         P la   i. n t i f f any gr i ~-

 va12cet or everi..,. to send it                                            out        as       we11      as    raa:fZ,      kites,           etc.,

all           because             o:1:
                                  ~',         ,,
                                                       their so-ca11eil fear of contraat:1.n.g                                         the      rasi1
                                             ~·
 by      touching                      a!:yt.Iling                  the        Plantiff               touched'         desp:lte·        a 11.    the

 offi-·oers             had.i:fu11                             PPF.:'s(g1cives,                  :mcu;·ks,      face        shields,.           body

 s ,.d. ts .h         c7 u e            t. o t he               s er i o us            s pre a a o f         co v :!. a-1   9•     P1a}ntiff

 was· an.able                   t·o                    obtain, a nil                  file       a     g-r:let•ance         unti_Z       out        o.f

 gnarantine                    afte1·                       f.ive     days.                The rook1e Dafsnaant                        correct-

:l.ona:1         -office-r                             'in-ftn·mec?         Pla.J.~tiff              the.t     the      officers             ha<1    a

 d.iscuss:l.on,                etri,d                  come      to     a         conolusion                 tl1ey      won Uf         deny      him
                                             ,}:

                                behause                        they         i:1i.r1    r,..ot   want      to catC!h th~            .t"<'iSh     from

 h :!. m ,   a e_s p .i t e ,                                  they         a11        had      F.1111

 .fies·         derlial           o,f. g:rievan.ces and regu:l.red clean                                                clothes           aue       to

 the guards' ~o~oa11ed fear of contracting r~sh -- having PPB's~
         1


                                   i, 'r,
                                                                                      c.
                  ogF~N~ANT SUFF~R~D CRU~L ANn USUAL PUNTSHM~NT
                    TN,VIOLATION OF TH~ ETGHTH AM!NDMINT WHBW
                   THe .qSFENDART CORRgCTIONAL OFFTC~RS R~Fusgv
                HIM CLFNHI CLOTWfrn,. SUl1.Ji?CTTfW 1lTM '!'() Rg-rNPP.CT!Ol\T
               OF HTS RA~H FOR WHICH HE WAS M~DICALLY QUARANTTNg~
                                  ';   ...

               While             ;:'i1aintiff                       r-,as      placed            in      seg.regati.on,           on    -medic,11
                                  . ;,

 g naran'tine                   :fi)r:'                 a    vary     painful                rash         ca11er'l          shingles,            the,
                                             ..
 Defendant                 cor,rectionaZ                              of:f.icers                rs.fused        him      regn:l.rea·          clean
                                  .,
                                   .,....
 clot-11e:s           or        even                        to have his                clothes           washed,         forcing             Plain-
                                  1:               '
 ti:ff,         to     r\l'ear :··the same <Hrty in.fectea clothes                                                       snbjecti_ng             him

 to re-infect.t}in                                      an,a     longer               hea Ziag         time, a 11 because r;,f the
                                             ,,;

 gua.tds-'            so-called                               fear of contracting                           the      rash        aespi te        a11

 hav!:n.g             full'                        PPE:'s      due     to         the        serious           spread        of    coviil-7.9.
                                  ; :£'




                                                                                      10
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                                            RELTEF


         The       Plain.ti.ff      1s    seeking        monetary         damages        .including

pirnd.t1ve        damages,    but    sets       forth         no     particular          amount    at

 this! j unct:l on,o · ·.
                       '


                     exHAUSTlON OF ADMTNISTRATTVI R~M~DT~S

                                            STEP I

 Gr·1 e:va·nce One:<:        On, correctJ.ona 1 O.ff'ic.!rs
  F11 ea,                    4-15-21
. rssne:,,                    The        l?lain,t:lff ~,;as refused           grievances          and·
                             clean          clothes            whlle           on          medical
                             qusrantlne         plo.cea            :i:n   segregation. for
                                                                                       i
                                                                                                    a
                             pa1nful contagious rash.

 Step     r     Respo:nse:       Before      Pla1n~1ff received a                   response       he
                             transferred            to    a    dlff~rsn±         fac111ty          on.
                             4-29-21, . .f:rom the uppe.r peninsula to down,
                             state.     '11 hese  sudden     transfers   by the· :,
                             facility       after   certa.in    grievances  are i '
                             meant to moot the grievanae, th.inking 1f ,.'
                             they ride the prisoner to a different
                             facility     ne w.111 be satisfied and do not.:,
                             follow     np   on the grievance$       Pla.'in,tiff
                             is not one 0£ those       p.risone.r:s.   A.s    he
                             tit'la1tea the Step r response the deadline
                             had     elapsed   on 5-?-21    for a response.
               0: ',
 Gr1evan,ce Two.':           On, Hea1t11 Care
 Fi.lad:·                    4-18-21
 rssu:e , ..                   Wh:l1e 'PJ.fdnt:!.ff was medically guarantined
                             placed in segrGga.ti.on • .for a very pain,fu1
                             rash cal Zea shingles         medical    refused
                             Pla:inti.:f.f      regu:i.rea      pain-  pi11s. ,,,

 Step     r    Respon·s/iU   As this gr:i.evance was f1 Zea 3 days, a.fter
                             grievance     ona,    Plaintiff was transferred
                                                                           •:        ~



                             on 4-29-21,         before   reoeiv:1.ng ·a response
                             As     he    a wai. tea    response        at        the.,
                             facility    to     whioh     he transfer.red,        the
                             dead11ne  h~a elapsed on 5-11-21                 For   a
                             response.




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                                                               STEP Tl

              Due     to: -no             Step       r response                to either gr.1.evance,                           Plain-

t i f f immediately                       Jd.-r;ed      tor         a        step     rt      appeal       for    both gri.e-

vanoes on            5-6_:...:;n and 5-11-21 at the                                   facility         to which                 he was '"~:;

transferred which                             responcle<'l                   "Follow                  your       l'eqnest             at .,,
                           ~ \
UR F, "        the     g· r i".e v ea         fa c i. 1 i.   t y.            TherenftGr.,           Pla.:l.ntif:f       J.mmea1-
      ·:-:
at·ety ;-sent             a''_ request               via        first-a.lass                  mail    around           5.}u;-21,

to URF for hiJ                       step rr appeal forms.

      ·:. On, 6-4-2,i,. 'E'la1n,tiff                          :received              f:t'om    URF     a    Step        rr         -form

for ~each            gri'evanc:9                 which        suspir.:1.ons1y                 was    accompanJ.ed                  i-d.th
                                                                                                                           r-
                                                                                            .from    ,u~aJ th         Care          and

4-29.-21,            for         .-tlle       guards,                        Health        care      response("pat:!ent

was ••• prescribed ty 1 eno1." wh:l. ch is a J. sprovea (ante                                                    9     Z :l!]e 3))
                            ,'·,:·


and          guards       re:sponse ( "pr-.isone.r                           was     p.rov.iaea       adeguate                  living:
                           ...
                            1
cond1tions",                     denied            grievances,                      c I ean     clothes,              and          pa1n,
                                                                                                                                             ,,
                                                                    The        fact        these      Step       r responses ". 1

showed•_        up    a . -~·onth                past    tha:l.r             deadlines          while       dated               timely            "

af-t.er        Plaintiff's                    Step      T.I     eippsa.1            requests          due        to    no          Step
      j .

r:responses               if         very auest1onab1e.

              ·If the gi:levances                       we.re            timely        :responaea           and ma{:led as
      p-
dated,          the       P.laintJ.ff                would          T·rnve         -~eoeived         them     timely,               not:·,

on:    : 6- 4 - 21 ,             · a 1 on g                  the         appeal            forms,                                month

a.ft er · t'he:!. r.       ·a ea.a 1 f.nea to                 r~spona               an,7    weelrs     past          the         llea.a-
                                                                                                                                            c'


lin~s ·         £or        :: - PlaJ.ntl.ff                     to             respo116             hav.ing           only            10

bizs!.ness           days                 per-    pol i C:!}            PD    O3.0~.130.              The     ev_:!dence
                           !-
the·' Step           rr    'f!,esponaents point to                                  the        dates        being                back-



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Case 2:21-cv-00218-MV ECF No. 1, PageID.13 Filed 10/20/21 Page 13 of 17


                             ,.
dated          and         min,tpula te(1                       by     i:lle Respondents r-1ho obv.:I. ous 1 y held

thei .r responses                            1 ong pa st             Plain ti f f ' s         response         cieaa 1 ines             to

make        it        apz,e_a.r              'Plaintiff missed 'h:ls tlead1ines                                by     more        than
                             ....      '
a month,              thus; grounds to deny.

            Th:ls         is ::proven                      by    the     Step            rr         Respondents             , making

mult•iple             cha~,ges                    to       the         a.ates       on         Pla:!ntif.t''s              Step          rr·
                                       .
appeal·.:. forms:::                          On,       the       health        oare          appeal       form the Respon-

dent·       and           gr:l~:vance                      coordinator              bot11        aotna 1 ly        changed

dates        - that                    ; Pla1n,t1.ff 's
                                       ~v
                                        r
recei. ~•ed           bg      •·them               as       both        aa i:es     were         erased      with       wi te-ont

and ·changed.                     ; Then           on the Step                rr    appeal          Eo1·m    on      the ~rnards

the··          Respona'ent                             changed               the         a,1te      it   was       .returned            to
      .1,                         i-
Pi a :1. n t .1 f f       by <.aotna11y                          crossin,g         ant        "6-2,"         then          r,1.r i t   1n.g

"6-17--21,,"               mak.ing                 it       appear           their       responses          were           sent         up

to     tr,10     weeks:.                    earl.fer              to      Pla.f.n-t.iff          when     con,s:l.aering               the .. '.

Respondent                 was about to wr1ta                                  possibly                                Th~        Step

r,:    Res_pondent;;                        was    so           manipulating                  the    aates          that          this

person           actua.1-1.y                  responded                   to                                                             to
                             ., .
Pla.i'nti.ff's               m.eai.ca1                     grievance"                                    these          mu'1 tip le
                                                                                                                                               1·
date         changes '.,' by                      the       Respond en ts               and    GzJ. evance          Coord i. n•a tor ,,

di sered J. t             them,               to       think           the     P 1.ai.n-t:J. f f     missed        etrery      dead-
                                  ·i I


line        by        more . than                      a    month        contrary             to     lli s kites mentioned '

at     :Step          r     shotdng                    h:is      dilig-~noe             to    obtain        Step      rr     appeaZ

form·s ,         to        a,r.pea 1 o                     Common        sense          and    jn.fe.rence           has      to         be

used        hereo            A)l              ev:taenoe              sha..Zl       be    pr~sented           !:t    the      proper

jirndti.on.



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                                                                   STF:P      rrr

          Givan          the                 apparent            manipnlatJ.on,               of      dates          by   the    Step

rr   Respondent:                            £.Jho    obviously             sat      on     the.tr.       .E'esponse             until

long         aft.er             Plaintiff' 's                      l'fea.111 ines        to    respond           had      elapsed,

                                                                                                                          for    more
                               :..,<.
than, a, month ·J?._a.st the step rrr deadlines.
                           ,)
                          ,;



                                                            PR'eVTl!fi! LiHTtHTTTS

          l' 1 a 1 n   ti.~ i ha s                   ha a     no     case        d :i. s m1 s s e d    d 1r e    to the three -

stri-ke.· rule a           \.
                          .'



      MJ.CKTNG Ni't,:'l'TLEJS v. U~TF':i~OWN 1'.RE:MBLA.Y(pr1son guard),. f l led.
      ar:ound   j~1l9        7.020,  case '.?: ~0-cv-16.3,. Western    D1,st.rict'·
     .Judge Rob~it Jonkei, dismissed due to ru11ng
         Plantiff 'faizea to state claim,                                              9-21-20~

      . MJ!CKTftTG        'N,'E:'l'TT:,F.:S            v. SMOR''P:.'R(prison                  guard),           et    s.1.,, filed
         a.round 1-(1-14, Western, District, ao not recall·
         case 110._,:"'Judge ~one.rt LronJcer,,, all but retaliation                                                            cla:f.m    >·
         d1~m1ssed~ ~id not pursue further.

     •MACKTNG N~TTLF:S                                 v.     CRJ!TG Wl!LLACTs,               at al.,           filed     1.2-1-20, :;-
     ·:Casei 2-2q~cv-00241-HYJ-Mt',       Dismissed                                                   w/o       p.rejudica         for
     \fa.i.lnre t?,: pay :E11ing fe-::J, Mag .?.021.                                                                                      ,,✓,

         'MACKTNG M'eTTL FJS v •. CRJHG fA!llLLJICl!J, et. a lo, :f 11 ec'l ,R-2-21,
         ·ca·:se 2: 21,-}:v-184, Judge Maarent Verma at, Western,            '·
          D.1 st,: :t ct, ..,.'pen-d1n.g •.

PR'FJVlOUS        STATl LA~l SUTTS
                           '            '
A.       ·;MACKTNG N'E_TTLFJS v. CRAIG WA.T,LAC'B,   et al.,  f11ecl· around
          5-2020,    qase     :?0-0005~-MP,  J,u(!ge   Col:Zen A •. O'Brien,
         dismisseiI .for                            .fa:I.Zure      to     state         number. of prior lawsuits·::




     ~                                                                   14
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                            CERTlFlCATTON FOR CLOSlNG

       'l?Zaintif:J;   _certifies    that      this     aomplaint           complies   w:f.th

Federa__l    Rule·     of   Civ1.1   Procedure        J.l   an(1   t1la.t    the   factual.''

con·ten,tlons absol ntel 9 henre e,,identiary support.




Date
                                                                       ---·-------
                                                                              2718.!2           '

                                               Caz-son                         Corr.   Pac.
                                               10274 Boyer Road
                                               Carson City, Mr 48811.




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